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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA,                     :
     Plaintiff,                               :                CIVIL CASE NO.
                                              :                3:20-CV-1300 (JCH)
v.                                            :
                                              :
JEFFREY ANDREWS ET AL.,                       :                MAY 5, 2021
     Defendants.                              :


      RULING IN PART RE: MOTION TO PRECLUDE OR SUBSTANTIALLY LIMIT
     EXTENT AND FREQUENCY OF DISCOVERY AND FOR PROTECTIVE ORDER
                               (DOC. NO. 75)

        The defendants filed a Motion to Preclude or Substantially Limit Extent and

Frequency of Discovery and for Protective Order (“Mot. to Limit”) (Doc. No. 75) on April

27, 2021, in part, to obtain a protective order preventing any further inspection of the

site in question, including the entry by plaintiff upon defendants’ land on May 10, 2021,

pursuant to a Request for Entry served on defendants and dated April 9, 2021. Request

for Entry (Doc. No. 75-4). Given the time limits available to address this Motion, the

court will only address the Rule 34 Notice in this Ruling. The remaining aspects of

defendants’ Motion will be addressed when the plaintiff has the opportunity to file its

response.

       For the following reasons, the court denies the Motion for Protective Order

preventing entry by the plaintiff onto the property on May 10 and, if necessary, May 11,

2021. In other words, the plaintiff, through its representatives and experts, may enter

the property for the purpose as stated in the Rule 34 Notice on those dates.

       The court is somewhat puzzled by the defendants’ Motion for Protective Order.

When the court was attempting to schedule a hearing on the government’s Motion for

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Preliminary Injunction, it granted the defendants a significant continuance in order for

them to be able to engage experts. Although the defendants succeeded in identifying

an expert, they then did not end up calling their expert at the hearing. As the court

recalls, the reason was he could not be available and was not prepared for the hearing

on the day scheduled. Now, defendants complain that their experts are not available to

attend an inspection until June 10. Defendants received notice of the May 10 date on

April 9. Although the court is aware of situations where the parties can agree on a date

that is convenient for experts on both sides, the court is unaware of any requirement

that an opposing counsel's expert be available for such an inspection, certainly, in less

intrusive situations, like this one, that do not involve destructive testing. However, the

plaintiff here, as well as the defendants, are limited in the time in which this expert

discovery can occur. It is the court’s recollection that the defendants and plaintiff agree

on one thing: that the "summer season" is a key time to gather evidence which could be

relevant to both the claims and the defenses in this case. Thus, it should not have

come as a surprise to defendants that the plaintiff would seek to set a date to inspect in

early May. This is especially true in light of the fact that its discovery needs require a

follow up inspection.

       In its Motion, the defendants assert various bases for the entry of a protective

order preventing any entry by the plaintiffs onto their property. The defendants argue

that the discovery sought through the Rule 34 Notice is irrelevant because the plaintiff

has no need for this intrusion on their private property. The court struggles with the

assertion of irrelevance by defendants: nothing could be more relevant than evidence

pertaining to the current and historic condition of the portion of the site at issue. The



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defendants’ relevance objection appears to rest on the argument that the Rule 34 visit is

not “necessary.” The defendants argue that the plaintiff has already collected

substantial evidence from the site in connection with its pre-litigation investigation.

However, the court notes that this work, which was conducted prior to commencement

of the litigation, was attacked by the defendant as deficient at the hearing on the Motion

for a Preliminary Injunction. That a party may have sufficient evidence to commence an

action does not deprive that party of the ability to obtain further evidence in discovery

from its opponent. Further, the plaintiff has a right to obtain discovery pertaining not

only to its case but also to the defendants’ defense. Further, conditions can change. 1

        In addition, the defendants argue that the burden on them outweighs any benefit

or need for this discovery. The difficulty with this argument is that, while defendant

Jeffrey Andrews has provided an Affidavit about his farming activities upon the site, and

described his farming methods, nowhere does he provide evidence that the visit on May

10 (and possibly May 11) would be unnecessarily intrusive or in fact be a burden upon

him or his activities on the site. Also, even if there is some impact on his activities, he

has failed to come forward to demonstrate to what extent that impact would be, such

that it could possibly outweigh this substantially relevant discovery. Finally, the

defendants raise the issue of cost. See Doc. 75 at 11. However, they provide no basis

for the assertion that this discovery by the plaintiffs will be costly to the defendants.




         1 Jeffrey Andrews states in his Affidavit that he has been informed by counsel this inspection was

for the Department of Justice to confirm he had not further violated the Clean Water Act. The court has no
knowledge of that. The court does not mean, in referring to changes in conditions, to suggest that any
actions have been taken in violation of its Order.

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       The defendants’ Motion, with regard to the Request for Entry under Rule 34 is

replete with sound descriptions of law concerning various discovery principles.

However, it contains no analysis that connects these principles to the discovery arising

from the Request in this case, or to the aspects or features of this case, or to

defendants’ operations that could cause the court to conclude this discovery should not

proceed. Lastly, the court rejects the defendants’ assertion that this is a "fishing

expedition.” See Defendants’ Memorandum in Support (Doc. 75-2) at 18. Given the

nature of the discovery request and the lack of any basis to justify issuing a protective

order preventing it, and given the absolute relevance of this discovery to the issues in

dispute in this case, the phrase “fishing expedition” has no place in this matter.

       The court finds that the minimally invasive visit on May 10 (and May 11 as

needed) is clearly proportional to the needs of the plaintiff in this case. The discovery

of the property that is within the control of the defendants and as to which the

defendants have unlimited access to gathering information, can only obtained by a visit

to the site in question in the lawsuit. Reasonable visits by the plaintiff are its only

means to gather evidence that is critical to the issues in this case. The timing of this

visit is also important: both parties have spoken about timing in connection with

observation of the conditions on site. In considering Federal Rule of Civil Procedure

26(b)(1)(B), as the defendants urge the court to do, the court is left with no question that

this discovery is proportional to the needs of the case. The issues at stake in this

action are extremely important, and the parties relative access is clear, and the

importance of the discovery in resolving the issues before the court is substantial, and

this particular discovery places little burden or expense on the defendants, certainly



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none that outweighs the benefit. Finally, the amount in controversy is potentially

significant, but any cost or burden imposed on the defendants in connection with this

entry is not.

       Therefore, the defendants’ Motion to Substantially Limit Extent and Frequency of

Discovery and for Protective Order (Doc. No. 75), to the extent that it seeks a protective

order or any other ruling by this court that would prevent the entry by the plaintiff, or its

representatives, and its experts upon the site in question in this lawsuit on May 10 (and

possibly May 11), as more fully set forth in the Notice issued by the plaintiffs to the

defendants on April 27, 2021, and any reasonable follow-up entry pursuant to Requests

for Entry served pursuant to Rule 34, is denied.

SO ORDERED.

       Dated at New Haven, Connecticut this 5th day of May 2021.



                                                   /s/ Janet C. Hall
                                                  Janet C. Hall
                                                  United States District Judge




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